Case 2:21-cv-02071-JTF-cgc Document 28 Filed 03/08/21 Page 1 of 3        PageID 289




                THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF TENNESSEE
                        WESTERN DIVISION


 KIMBERLY DIEI,


              Plaintiff,
                                           CIVIL ACTION NO.
       v.                                  2:21-cv-02071-JTF-cgc

                                           JURY TRIAL DEMANDED
 RANDY BOYD, ET AL.,


               Defendants.



 PLAINTIFF’S UNOPPOSED MOTION FOR EXTENSION OF TIME TO
       RESPOND TO DEFENDANTS’ MOTIONS TO DISMISS


      Plaintiff Kimberly Diei hereby submits this Unopposed Motion for

Extension of Time to Respond to Defendant’s Motions to Dismiss by and through

the undersigned attorney. Plaintiff respectfully moves the Court for a twelve (12)

day extension, until April 9, 2021, to respond to Individual Capacity Defendants’

Motion to Dismiss the Fourth and Fifth Causes of Action (ECF No. 24) and

Official Capacity Defendants’ Motion to Dismiss the First, Second, and Third

Causes of Action (ECF No. 25) (“Defendants’ Motions to Dismiss”). In support of

her motion, Plaintiff states as follows:
Case 2:21-cv-02071-JTF-cgc Document 28 Filed 03/08/21 Page 2 of 3           PageID 290




           1. Plaintiff’s deadline to file its answer or otherwise respond to

Defendants’ Motions to Dismiss is currently March 29, 2021.

           2. Plaintiff’s attorneys need additional time to review Defendants’

Motions to Dismiss in order to prepare proper responses because Plaintiff’s

counsel recently had a child and had a pre-planned leave of absence.

           3. Plaintiff requests she be allowed an additional twelve (12) days, up to

and including April 9, 2021, to file her responses to Defendants’ Motions to

Dismiss.

           4. Good cause exists for this request, and the brief extension of time

requested will not cause prejudice to either Party or the Court.

           5. Plaintiff’s counsel has conferred with counsel for Defendants who

have consented to the requested the twelve (12) day extension.

      WHEREFORE, Plaintiff Kimberly Diei respectfully requests that the Court

enter an order granting the requested extension of time for Plaintiff to respond to

Defendants’ Motions to Dismiss up to and including April 9, 2021.

      Respectfully Submitted:
Case 2:21-cv-02071-JTF-cgc Document 28 Filed 03/08/21 Page 3 of 3           PageID 291




/s/ Greg H. Greubel                          /s/ Edd Peyton
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                     CERTIFICATE OF CONSULTATION

       I, Greg H. Greubel, hereby certify that I consulted with David A. Whitcomb,
attorney for Defendants, via email on March 5, 2021, and he has no objection to
this motion.

                                        /s/ Greg H. Greubel
                                        Greg H. Greubel



                          CERTIFICATE OF SERVICE

I, Greg H. Greubel, hereby certify that on March 8, 2021, a copy of the foregoing
motion was filed electronically. Notice of this filing will be sent by operation of
the Court’s electronic filing system to all parties indicated on the electronic filing
receipt, and parties may access this filing through the Court’s electronic filing
system.

                                        /s/ Greg H. Greubel
                                        Greg H. Greubel
